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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                   Case No. 13-cr-40118-JPG-004

 RICKY LEE ROBERTS, II,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Ricky Lee Roberts, II’s motion for an

extension of time to appeal (Doc. 239) the Court’s May 17, 2021, order (Doc. 238) denying his

motion for compassionate release pursuant to the First Step Act of 2018, Pub. L. No. 115-391,

§ 603(b)(1), 132 Stat. 5194, 5239 (2018) (codified at 18 U.S.C. § 3582(c)(1)(A)) (Doc. 236).

       Federal Rule of Appellate Procedure 4 sets forth the timing rules relating to notices of

appeal. Rule 4(b)(1) provides that, in a criminal case, generally a defendant must file any notice

of appeal within 14 days of the later of (1) entry of the judgment or order from which the appeal

is taken or (2) the government’s notice of appeal. Fed. R. App. P. 4(b)(1)(A). The Court may

extend the time to file a notice of appeal for excusable neglect or good cause. Fed. R. App. P.

4(b)(4). The Court may extend the deadline for no more than 30 days from the expiration of the

14-day period. Id.

       The Court entered the order denying Roberts’s motion for compassionate release on May

17, 2021, and the Government did not appeal that order. Therefore, Roberts had 14 days—until

June 1, 2021 (actually May 31, 2021, but that is the Memorial Day holiday, so the deadline

becomes the following day, Fed. R. Crim. P. 45(a)(1)(C))—to file a notice of appeal. The Court

is therefore empowered to extend the deadline by 30 days to July 1, 2021. Because counsel has
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explained the difficulty communicating with Roberts during the relatively short appeal period,

the Court finds good cause for an extension. Accordingly, the Court GRANTS the motion (Doc.

239) and ORDERS that the appeal period is extended to July 1, 2021.

IT IS SO ORDERED.
DATED: May 25, 2021

                                                    s/ J. Phil Gilbert
                                                    J. PHIL GILBERT
                                                    DISTRICT JUDGE




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